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                    IN THE UNITED STATES DISTRICT COURT OF
                        THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

Donald Broussard                            §
                                            §
       Plaintiff                            §
                                            §
v.                                          §      C.A. NO. 3:13-cv-349
                                            §
ENI US Operating Co., Inc.                  §
                                            §
       Defendant                            §

                    PLAINTIFF’S PROPOSED VOIR DIRE TOPICS

I. Background Information:

       1. Plaintiff requests the Court inquire as to the occupations of each of the panelists as
          well as the occupations of the panelists’ spouses and grown children.

       2. Do any of the panelists or their immediate family members work offshore or in the
          maritime industry?

       3. Is there anyone on the panel who has any familiarity with the maritime or offshore
          industry?

       4. Do any of the panelists or their immediate family members work in the oil and gas
          industry?

       5. Do any of the panelists or immediate family members work for insurance
          companies or otherwise adjust claims for a living?

       6. Is any panelist a member of an organization that supports tort-reform?

       7. Has any panelist supported tort reform efforts?

       8. Does anyone have a religious belief or personal belief that they cannot sit in
          judgment of another?

II. Prior Litigation Experience:

       1. Have any of the panelists ever been litigants either as plaintiffs or defendants?
             a.     If so, when?
             b.     What was the general nature of the dispute?
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             c.     Was the panelist a plaintiff or defendant?
             d.     What was the outcome of the litigation?
             e.     Is there anything about that experience that would cause the panelist to
                    have any reservations or bias for or against either side?

      2. Have any of the panelists served as jurors before?
            a.     If so, when?
            b.     What was the nature of the case?
            c.     Was a verdict reached?
            d.     Is there anything about that experience that would cause the panelist to
                   have any reservations or bias for or against any of the parties here?

III. Familiarity with any of the Parties/Attorneys/Witnesses in the Case:

      1. Do any of the panelists know any of the attorneys for the parties?

      2. Have any of the panelists or their family members ever worked for a law firm?

      3. Do any of the panelists know any of the parties?

      4. Do any of the panelists know any of the people who might be witnesses in this
         case? [list witnesses from pretrial order] If so, would your familiarity with this
         person make you more or less likely to believe that persons’ testimony without
         having first heard the testimony? Would the fact such person is testifying make
         you favor one party over another?

      5. Have any of the panelists or their immediate family members ever suffered a back
         or neck injury?

      6. Have any of the panelists or their family members ever worked for ENI US
         Operating Co., Inc.?

      7. Have any of the panelists or their immediate family members ever worked on an
         offshore rig?

      8. Do any of the panelists have an experience lifting objects over 50 pounds at work?

IV. Case Type Questions:

      1. Is anyone automatically skeptical because this is a case involving an individual
         plaintiff and a corporate defendant?

      2. Is there anyone that will automatically hold Plaintiff to a higher burden of proof
         than a preponderance of the evidence — i.e. they would require something closer
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         to beyond a reasonable doubt or clear and convincing evidence in order to find for
         Plaintiff?

V. Future Medical Care Questions:

      1. Is there anyone that cannot award money for future medical care regardless of the
         evidence?

      2. Is there anyone uncomfortable with the idea of money for future medical costs
         because of the uncertainty of things?

      3. Scaled Question – How comfortable are you in awarding damages for future
         medical care? 0 = completely uncomfortable; 10 = completely comfortable.

      4. Is there anyone here that would require more than a preponderance of evidence in
         order to award damages for future medical care costs?

VI. Pain & Suffering Questions:

      1. Is there anyone that does not believe in pain and suffering?

      2. Is there anyone that will not under any circumstances, regardless of the evidence,
         award money for pain and suffering?

      3. Is there anyone that would hold Plaintiff to a higher burden of proof than a
         preponderance of the evidence in awarding pain and suffering — i.e. would
         require something closer to clear and convincing or beyond a reasonable doubt in
         awarding pain and suffering?

VII. Miscellaneous

      1. Do any members of the jury panel have any legal experience or any background in
         legal matters? If so, please describe.

      2. Does any panelist have any accounting experience or any background in
         accounting matters?

      3. Does any panelist have any strong feelings or any bias against lawyers?

      4. Does anyone here think that jury awards are generally too high? Too low? About
         right?

      5. Does anyone here thing that there are problems with the civil justice system?

      6. If YES, is the problem with the system itself or the lawyers filing the lawsuits?
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      7. If you or someone close to you experienced injury due to what you believed was a
         matter of negligence, would you explore the filing of a lawsuit, or support the
         injured person in their efforts to do so?

      8. Do you know personally of any cases in which an on-the-job accident resulted in
         permanent injury to a person?

      9. Overall, what is your impression of the worker safety efforts made by employers
         in the maritime industry?

      10. Do any of you know of anything else that might affect your ability to be a fair and
          impartial juror in this case, or affect your ability to serve as a juror for the term of
          this trial? If so, please describe.


                                            Respectfully Submitted,

                                            ARNOLD & ITKIN LLP

                                            /s/ Kurt B. Arnold
                                            _______________________________
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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2014, I electronically filed the foregoing
pleading with the Clerk of Court, using the CM/ECF system which will send notification
of such filing to all counsel of record.

                                        /s/ Kurt B. Arnold
                                        _______________________________________
                                        Kurt B. Arnold
